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 3                         UNITED STATES DISTRICT COURT
 4                                 DISTRICT OF NEVADA
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 5

 6   USACM LIQUIDATING TRUST and )
     USA CAPITAL DIVERSIFIED TRUST )
 7   DEED FUND, LLC,               )
                                   )                  2:08-CV-00461-PMP-PAL
 8               Plaintiffs,       )
                                   )
 9   vs.                           )                       ORDER
                                   )
10   DELOITTE & TOUCHE LLP and     )
     VICTORIA LOOB,                )
11                                 )
                 Defendants.       )
12                                 )
13            Before the Court for consideration is Defendant Deloitte & Touche LLP’s
14   Motion for Summary Judgment (Doc. #97), filed on April 26, 2010.
15            Plaintiffs have failed to file a response in opposition to Defendant’s Motion
16   and in accord with the Rules of Practice of this Court therefore consent to the
17   granting of the relief requested by Defendant.
18            IT IS THEREFORE ORDERED that Defendant Deloitte & Touche
19   LLP’s Motion for Summary Judgment (Doc. #97) is GRANTED and the Clerk of
20   Court shall forthwith enter judgment in favor of Defendant Deloitte & Touche LLP
21   and against Plaintiffs USACM Liquidating Trust and USA Capital Diversified Trust
22   Deed Fund, LLC.
23

24   DATED: May 24, 2010.
25
                                               PHILIP M. PRO
26                                             United States District Judge
